       Case 1:20-cv-00116-JRH-BKE Document 12 Filed 11/06/20 Page 1 of 7



              IN THE UNITED STATES DISTRICT COURT FOR THE
                         SOUTHERN DISTRICT OF GEORGIA
                                    AUGUSTA DIVISION


 DEBORAH LAUFER,                            *
                                            *


        Plaintiff,                          *
                                            *


                V.                          *                   CV 120-116
                                            *


 SHANK INC, a Georgia                       *
 corporation, and SWAMI OF                  *
 GEORGIA, LLC,                              *
                                            *


        Defendants.                         *




                                          ORDER




       Presently before the Court is Plaintiff's motion for default

judgment.        {Doc. 11.)          Defendant has not appeared, plead, or

otherwise     defended        this    action.      For    the    following     reasons.

Plaintiff's motion is GRANTED.




                                     I. BACKGROUND


       Plaintiff initiated the present action under the Americans

with    Disabilities         Act,    42   U.S.C.   §     12181    et   seq.    (^^ADA").

Plaintiff seeks          a   declaratory judgment that             Defendant^ is in

violation of the ADA, injunctive relief requiring Defendant be

ordered    to    bring       the third-party booking            sites it      uses   into


' Plaintiff's original complaint was filed against Shank, Inc.      {Doc. 1.)
Plaintiff later amended her complaint and replaced Shank, Inc. with Swami of
Georgia, LLC as the defendant. (Doc. 5.)    However, Shank, Inc. has not been
terminated as a defendant. The Court is referring to Defendant Swami of Georgia,
LLC in its present Order.
    Case 1:20-cv-00116-JRH-BKE Document 12 Filed 11/06/20 Page 2 of 7



compliance    with   the     requirements    set     forth     in     28     C.F.R.

§ 36.302(e)(1), and an award of attorney's fees and costs.

     On October 5, 2020, Plaintiff moved for entry of default

pursuant to Federal Rule of Procedure 55(a).             (Doc. 9.)        The Clerk

thereafter entered default on October 7, 2020.                (Doc. 10.)         The

same day, Plaintiff filed the present motion.



                              II. DISCUSSION


A. Legal Standard

     Under   Federal Rule of Civil Procedure             55(b), ''a       court may

enter default judgment against a defendant when (1) both subject

matter and personal jurisdiction exist, (2) the allegations in the

complaint    state   a   claim   against    the    defendant,       and    (3)   the

plaintiff    shows   the   damages   to    which    it   is   entitled." Senn

Brothers, Inc. v. Heavenly Produce Palace LLC, No. CV 119-196,

2020 WL 2115805, at * 1 (S.D. Ga. May 4, 2020) (citing Pitts ex

rel. Pitts V. Seneca Sports, Inc., 321 F. Supp. 2d 1353, 1356-58

(S.D. Ga. 2004)).        Final judgment is appropriate so long as ^^the

pleadings state      a substantive cause          of action and       contain      a

sufficient basis to support the relief sought."               Kennedy v. NILA

Invs., LLC., No. 2:19-cv-090, 2020 WL 3578362, at *1 (S.D. Ga.

July 1, 2020) (citing Tyco Fire & Sec., LLC v. Alcocer, 218 F.

App'x 860, 863 (11th Cir. 2007)).
      Case 1:20-cv-00116-JRH-BKE Document 12 Filed 11/06/20 Page 3 of 7



      Further,   a ''defaulted     defendant       is   deemed   to    admit    the

plaintiff s well-pleaded allegations of fact" set forth in the

complaint.    Surtain v. Hamlin Terrace Found., 789 F.3d 1239, 1245

(11th Cir. 2015) (quoting Cotton v. Mass. Mut. Life Ins. Co., 402

F.3d 1267, 1278 (11th Cir. 2005)); Eagle Hosp. Physicians, LLC, v.

SRG Consulting, Inc., 561 F.3d 1298, 1307 (11th Cir. 2009) ("A

defendant, by his default, admits the plaintiffs well-pleaded

allegations of fact, is concluded on those facts by the judgment,

and   is    barred   from   contesting       on    appeal     the     facts    thus

established."     (internal      quotations       and    citation      omitted)).

Because    Plaintiffs    claim    is   not   for    a   sum   certain,    default

judgment is proper under Federal Rule of Civil Procedure 55(b)(2).

See Senn Brothers, Inc., 2020 WL 2115805, at *2.

B. Analysis

      1. Jurisdiction


      Plaintiffs ADA claim arises under federal law.                   Therefore,

the Court has original jurisdiction of the subject matter of this

action pursuant to 28 U.S.C. § 1331.                Venue is proper in the

Southern District of Georgia because the public accommodation at

issue, Econo Lodge, is located in the Augusta Division of this

Court.     Moreover, the Court has personal jurisdiction over the

Defendant     because   Plaintiff      personally       served      Defendant    on

September 12, 2020.      (Doc. 8.)
    Case 1:20-cv-00116-JRH-BKE Document 12 Filed 11/06/20 Page 4 of 7



     2. Liability

     First, Plaintiff alleges she ^'is unable to engage in the major

life activity of walking more than a few steps without assistive

devices." {Am. Compl., Doc. 5, SI 1.)         She must use a wheelchair,

cane, or other support to ambulate.          She has "limited use of her

hands" and "is unable to tightly grasp, pinch and twist of the

wrist to operate" mechanisms.        (Id.)   Accepting these allegations

as true. Plaintiff is an individual with a disability as defined

under    the   ADA.   See   42   U.S.C. § 12102 (including    walking   and

performing manual tasks as major life activities).

        Plaintiff also alleges Defendant owns and operates the Econo

Lodge, which is a place of public accommodation as defined by 28
C.F.R. § 36.104.      Thus, Defendant is required to comply with the

ADA. See 28 C.F.R. § 36.201 ("No individual shall be discriminated

against on the basis of disability in the full and equal enjoyment

of the goods, services, facilities, privileges, advantages, or

accommodations of any place of public accommodation by any private

entity who owns, leases (or leases to), or operates a place of
public      accommodation.").         More    specifically,   28   C.F.R.
§ 36.302(e)(1) provides:

        A public accommodation that owns, leases (or leases to),
        or operates a place of lodging shall, with respect to
        reservations made by any means, including by telephone,
        in-person, or through a third party—
        (i) Modify its policies, practices, or procedures to
        ensure that individuals with disabilities can make
        reservations for accessible guest rooms during the same
     Case 1:20-cv-00116-JRH-BKE Document 12 Filed 11/06/20 Page 5 of 7



     hours and in the same manner as individuals who do not
     need accessible rooms;
     (ii) Identify and describe accessible features in the
     hotels and guest rooms offered through its reservations
     service   in  enough   detail   to  reasonably   permit
     individuals with disabilities to assess independently
     whether a given hotel or guest room meets his or her
     accessibility needs;
     (iii) Ensure that accessible guest rooms are held for
     use by individuals with disabilities until all other
     guest   rooms of that type         have     been    rented    and the
     accessible room requested is the only remaining room of
     that type;
     (iv) Reserve, upon request, accessible guest rooms or
     specific types of guest rooms and ensure that the guest
     rooms requested are blocked and removed from all
     reservations systems; and
     (v) Guarantee that the specific accessible guest room
     reserved through its reservations service is held for
     the reserving customer, regardless of whether a specific
     room is held in response to reservations made by others.


     Plaintiff alleges Defendant uses third-party booking sites,

which contain online reservation systems.^              Prior to the filing of

this lawsuit. Plaintiff claims she visited the websites on multiple

occasions for the purpose of assessing the accessibility features

of the property and to ascertain whether the sites met her
accessibility     needs    and    the     requirements        of     28   C.F.R.

§ 36.302(e)(1).     (Am. Compl., SI 10.)         Plaintiff was unable to do

so because Defendant failed to comply with the requirements set

forth in Section 36.302(e)(1). She asserts the third-party booking

sites 'Mid not identify or allow for reservation of accessible



2 The booking sites are located         at: www.expedia.com; www.hotels.com;
www.booking.com; www.orbitz.com;        www.agoda.com;  www.cheaptickets.com;
www.travelocity.com; and www.reservations.com.
    Case 1:20-cv-00116-JRH-BKE Document 12 Filed 11/06/20 Page 6 of 7



guest rooms and did not provide sufficient information regarding

accessibility at the hotel."       (Id.)   Plaintiff also asserts that

she revisited the booking sites after the complaint was filed and

intends to revisit them in the near future.

     There is no evidence in the record that Defendant has since

brought    the   booking   sites    into    compliance    with    Section

36.302(e)(1). ''Thus, there appears to be a '100 percent likelihood

that Plaintiff will suffer the alleged injury again when [she]

returns.'" Kennedy, 2020 WL 3578362, at *3 (quoting Houston v.

Marod, 733 F.3d 1323, 1337 (11th Cir. 2013)).

     Accepting the well-pleaded allegations of the Complaint as

true. Plaintiff has established: (1) she is a disabled individual;
(2) Defendant operates a place of public accommodation; and (3)
Defendant discriminated against Plaintiff within the meaning of

the ADA.   See Norkunas v. Seahorse NB, LLC, 444 F. App'x 412, 416

(11th Cir. 2011).     Thus, Plaintiff has demonstrated that she is
entitled to injunctive relief under the ADA.

     3. Attorney's Fees and Costs

     With respect to attorney's fees and costs, the ADA provides:
     In any action or administrative proceeding commenced
     pursuant to this chapter, the court or agency, in its
     discretion, may allow the prevailing party, other than
     the    United   States,   a    reasonable   attorney's      fee,
     including litigation expenses, and costs, and the United
     States shall be liable for the foregoing the same as a
     private individual.
    Case 1:20-cv-00116-JRH-BKE Document 12 Filed 11/06/20 Page 7 of 7




42 U.S.C. § 12205.      Accordingly, the Court will exercise its

discretion and award attorney's fees and costs in an amount to be

determined.


                           III. CONCLUSION


     For the foregoing reasons. Plaintiff's motion for default

judgment is GRANTED. The Court finds Defendant is in violation of

Title III of the ADA, 42 U.S.C. § 12181 et seq and 28 C.F.R.

§ 36.302(e)(1), and injunctive relief is proper.           Defendant is

ORDERED to bring its third-party booking sites into full compliance

with Section 36.302(e)(1) and to implement a policy to monitor and

maintain its postings on third-party booking sites to ensure its

posts remain in compliance.        Defendant shall comply with all

provisions of this Order within four (4) months from the date of
entry of this Order.

     Upon resolution of the attorney's fees and costs issue, the

Court will enter judgment in favor of Plaintiff and against

Defendant.    Plaintiff is instructed to file its application for

attorney's fees and costs within fourteen (14) days hereof.             The

Clerk shall TERMINATE Shank, Inc. as a defendant in this matter.

     ORDER ENTERED at Augusta, Georgia, this <^^day of November,
2020.



                                  J.         HALL,'^ CHIEF JUDGE
                                  UNITED-STATES DISTRICT COURT
                                       (ERN DISTRICT OF GEORGIA
